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                 IN THE UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                 )        CASE NO. 4:07cr3152
                                          )
                  Plaintiff,              )
                                          )
            v.                            )               ORDER
                                          )
JOHN F. KROTZ,                            )
                                          )
                  Defendant.              )



      THIS MATTER comes before the Court upon Defendant’s Motion for

Permission to Restrict (filing no. 24) in the above captioned matter.                  The

Court finds the said relief should be granted and accordingly,

      IT IS HEREBY ORDERED that the documents filed by Defendant as

provisionally restricted, filing nos. 25-1 through 25-3, pursuant to E-

Government Act of 2002 shall remain restricted and shall not be publicly

accessible absent further order of this Court.

      SIGNED this 3rd day of January, 2008.

                                                   BY THE COURT

                                                   s/   David L. Piester
                                                   David L. Piester
                                                   United States Magistrate Judge




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